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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO

Civil Action No. 1:24-cv-02622-NRN

GEORGE WILLIAMS LLLP,

       Plaintiff,

v.

ROTO-ROOTER SERVICES COMPANY.

       Defendant.



ROTO-ROOTER SERVICES COMPANY,

       Third-Party Plaintiff,

v.

DENVER SEWER AND WATER.

       Third-Party Defendant.


  DEFENDANT’S NOTICE OF FILING CURRENT STATE COURT DOCKET SHEET


       Defendant Roto-Rooter Services Company (“Defendant”), by and through its attorneys,

Hall & Evans, LLC, hereby files a copy of the current state court docket sheet from Civil Case No.

2024CV030690 of the Boulder County District Court which was removed by Defendant to the

United States District Court for the District of Colorado on September 23, 2024.

       Pursuant to D.C.COLO.LCivR 81.1(B), attached hereto as Exhibit A is the current state

court docket sheet. No additional pleadings have been filed in the state court since Defendant filed
its Notice of Removal in this Court (and provided notice of same to the state court) on September
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23, 2024. The undersigned certifies that, as set forth in the attached docket sheet, there are no

outstanding or pending motions, responses, replies, or associated briefs, and the state court case is

currently designated as “Case Closed – Transferred.”

       Respectfully submitted this 8th day of October, 2024.


                                              Hall & Evans, LLC

                                               /s/ W. Andrew Figel
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                                CERTIFICATE OF SERVICE

       I hereby certify that on the 8th day of October, 2024, a true and correct copy of the
foregoing was filed with the Court via CM/ECF and served on the below-listed party by email:


Robert C. Podoll, Esq.
Christopher R. Corkadel, Esq.
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                                                 s/ Holly Rogers
                                                 Holly Rogers, Legal Assistant




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